EXHIBIT B
   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK


    PDV USA, INC.,                                                Case No. 20-cv-03699 (JGK)

                      Plaintiff,
    v.

    CONSULTING AGREEMENT AT ISSUE IN
    THIS CASE. CONSULTING, INC.,

                      Defendant.


                                   DEFENDANT’S PRIVILEGE LOG

           Defendant, CONSULTING AGREEMENT AT ISSUE IN THIS CASE. CONSULTING,

   INC., by and through its undersigned counsel, under Local Civil Rule 26.2, hereby submits the

   following log to Plaintiff, PDV USA, Inc., in conjunction with its Responses to Requests for

   Production.

 Type of    Participants in           Subject-Matter                     Privilege      Date/Time
Document    Conversation
              (Including
            David Rivera)
WhatsApp    Unknown           political discussion unrelated to    Non-Responsive       12/07/2021
Message                       Consulting Agreement at issue                             19:52:44
                              in this case.
WhatsApp    Unknown           political discussion unrelated to    Non-Responsive       10/28/2021
Message                       Consulting Agreement at issue                             09:31:51
                              in this case.
WhatsApp    Unknown           political discussion unrelated to    Non-Responsive       10/28/2021
Message                       Consulting Agreement at issue                             09:31:17
                              in this case.
WhatsApp    Unknown           political discussion unrelated to    Non-Responsive       10/28/2021
Message                       Consulting Agreement at issue                             09:25:25
                              in this case.
WhatsApp    Unknown           political discussion unrelated to    Non-Responsive       10/27/2021
Message                       Consulting Agreement at issue                             13:16:57
                              in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      10/21/2021
Message              Consulting Agreement at issue                           09:12:49
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      10/20/2021
Message              Consulting Agreement at issue                           09:08:16
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      10/18/2021
Message              Consulting Agreement at issue                           12:44:48
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      10/18/2021
Message              Consulting Agreement at issue                           11:15:26
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      10/17/2021
Message              Consulting Agreement at issue                           09:51:36
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      04/30/2021
Message              Consulting Agreement at issue                           17:26:06
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      04/30/2021
Message              Consulting Agreement at issue                           16:44:45
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-                08/23/2021
Message              Consulting Agreement at issue       Responsive/Attorney 16:31:19
                     in this case/Attorney/Client        -Client Privilege
                     Communication
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           09:43:23
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           09:05:43
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           09:02:46
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           13:26:24
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           09:43:05
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           09:07:31
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive      02/07/2019
Message              Consulting Agreement at issue                           09:07:31
                     in this case.


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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    05/19/2020
Message              Consulting Agreement at issue                         09:29:49
                     in this case.
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/29/2021
Message              Communication                       Privilege         10:17:41
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/21/2021
Message              Communication                       Privilege         21:59:41
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/16/2021
Message              Communication                       Privilege         12:50:42
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/16/2021
Message              Communication                       Privilege         08:18:28
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/15/2021
Message              Communication                       Privilege         22:54:49
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/14/2021
Message              Communication                       Privilege         21:21:50
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   10/08/2020
Message              Communication                       Privilege         12:11:59
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   09/27/2020
Message              Communication                       Privilege         10:41:03
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    05/20/2020
Message              Consulting Agreement at issue                         07:03:34
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    05/18/2020
Message              Consulting Agreement at issue                         14:32:58
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    08/03/2019
Message              Consulting Agreement at issue                         11:18:05
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   07/17/2019
Message              Communication                       Privilege         16:01:39
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    06/27/2019
Message              Consulting Agreement at issue                         18:05:47
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   02/26/2019
Message              Communication                       Privilege         16:21:10
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   02/25/2019
Message              Communication                       Privilege         18:28:58
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   02/25/2019
Message              Communication                       Privilege         15:05:50
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   02/25/2019
Message              Communication                       Privilege         14:55:35
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   02/25/2019
Message              Communication                       Privilege         14:54:02
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/13/2019
Message              Consulting Agreement at issue                         19:01:28
                     in this case.


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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/13/2019
Message              Consulting Agreement at issue                        14:35:55
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/12/2019
Message              Consulting Agreement at issue                        10:29:51
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/11/2019
Message              Consulting Agreement at issue                        10:23:13
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/09/2019
Message              Consulting Agreement at issue                        10:43:39
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/08/2019
Message              Consulting Agreement at issue                        09:21:49
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2019
Message              Consulting Agreement at issue                        09:47:38
                     in this case/Attorney/Client
                     Communication
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/06/2019
Message              Consulting Agreement at issue                        23:43:23
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/06/2019
Message              Consulting Agreement at issue                        23:04:13
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/31/2019
Message              Consulting Agreement at issue                        21:45:22
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   1/31/2019 21:43
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/31/2019
Message              Consulting Agreement at issue                        20:23:01
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/31/2019
Message              Consulting Agreement at issue                        20:22:07
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/31/2019
Message              Consulting Agreement at issue                        17:46:13
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/29/2019
Message              Consulting Agreement at issue                        20:26:30
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/29/2019
Message              Consulting Agreement at issue                        13:30:28
                     in this case.


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WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        01/29/2019
Message                  Consulting Agreement at issue                             13:30:05
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        01/29/2019
Message                  Consulting Agreement at issue                             13:29:29
                         in this case.
WhatsApp   Unknown       Attorney/Client                     Attorney-Client       08/09/2018
Message                  Communication                       Privilege             20:14:02
WhatsApp   Unknown       Attorney/Client                     Attorney-Client       02/24/2018
Message                  Communication                       Privilege             14:31:20
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        2/13/2019 19:02
Message                  Consulting Agreement at issue
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        05/18/2020
Message                  Consulting Agreement at issue                             14:45:00
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        5/18/2020 14:43
Message                  Consulting Agreement at issue
                         in this case.
WhatsApp                 political discussion unrelated to   Non-Responsive        02/13/2019
Message                  Consulting Agreement at issue                             19:00:56
                         in this case.
WhatsApp   Raul Gorrin   political discussion unrelated to   Non-                  02/12/2019
Message                  Consulting Agreement at issue       Responsive/Attorney   11:57:41
                         in this case.                       -Client Privilege
WhatsApp   Counsel       Attorney/Client                     Attorney-Client       08/31/2018
Message                  Communication                       Privilege             13:04:26
WhatsApp   Counsel       Attorney/Client                     Attorney-Client       5/24/2017 10:36
Message                  Communication                       Privilege
WhatsApp   Counsel       Attorney/Client                     Attorney-Client       05/04/2017
Message                  Communication privilege             Privilege             17:51:25
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        05/04/2017
Message                  Consulting Agreement at issue                             12:31:56
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        01/18/2022
Message                  Consulting Agreement at issue                             11:54:42
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        10/26/2021
Message                  Consulting Agreement at issue                             16:12:58
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive        08/26/2021
Message                  Consulting Agreement at issue                             14:01:19
                         in this case.
WhatsApp   Counsel       Attorney/Client                     Attorney-Client       06/24/2021
Message                  Communication                       Privilege             19:41:45



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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    05/13/2021
Message              Consulting Agreement at issue                         09:13:32
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    12/07/2021
Message              Consulting Agreement at issue                         18:44:10
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    08/23/2021
Message              Consulting Agreement at issue                         16:31:19
                     in this case.
WhatsApp   Unknown   business discussion unrelated       Non-Responsive    2/7/2019 9:02
Message              to Consulting Agreement at
                     issue in this case.
WhatsApp   Unknown   business discussion unrelated       Non-Responsive    02/07/2019
Message              to Consulting Agreement at                            09:07:31
                     issue in this case.
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   06/24/2021
Message              Communication                       Privilege         20:04:39
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   04/29/2021
Message              Communication                       Privilege         18:59:02
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   02/06/2021
Message              Communication                       Privilege         12:05:32
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/28/2021
Message              Communication                       Privilege         12:27:43
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/28/2021
Message              Communication                       Privilege         12:26:36
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/15/2021
Message              Communication                       Privilege         22:54:49
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   01/15/2021
Message              Communication                       Privilege         08:46:35
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   10/30/2020 17:40
Message              Communication                       Privilege
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   10/30/2020 17:38
Message              Communication                       Privilege
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   10/30/2020 17:36
Message              Communication                       Privilege
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   10/30/2020
Message              Communication                       Privilege         17:28:15
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   9/27/2020 11:03
Message              Communication                       Privilege
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   9/27/2020 10:53
Message              Communication                       Privilege
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   09/27/2020
Message              Communication                       Privilege         10:41:03
WhatsApp   Counsel   Attorney/Client                     Attorney-Client   09/27/2020
Message              Communication                       Privilege         09:56:19



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WhatsApp   Counsel   Attorney/Client       Attorney-Client   09/27/2020
Message              Communication         Privilege         09:24:18
WhatsApp   Counsel   Attorney/Client       Attorney-Client   09/27/2020
Message              Communication         Privilege         09:22:36
WhatsApp   Counsel   Attorney/Client       Attorney-Client   09/27/2020
Message              Communication         Privilege         05:34:28
WhatsApp   Counsel   Attorney/Client       Attorney-Client   08/24/2020
Message              Communication         Privilege         15:00:52
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/13/2020
Message              Communication         Privilege         13:19:23
WhatsApp   Counsel   Attorney/Client       Attorney-Client   05/22/2020
Message              Communication         Privilege         17:14:31
WhatsApp   Counsel   Attorney/Client       Attorney-Client   05/20/2020
Message              Communication         Privilege         07:03:34
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         17:46:23
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         17:08:06
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         17:07:41
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         17:06:40
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         17:04:34
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         16:57:37
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         16:57:02
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         16:53:07
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         16:52:11
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         16:26:34
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/18/2019
Message              Communication         Privilege         16:23:05
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/17/2019
Message              Communication         Privilege         16:01:39
WhatsApp   Counsel   Attorney/Client       Attorney-Client   07/17/2019
Message              Communication         Privilege         15:41:42
WhatsApp   Counsel   Attorney/Client       Attorney-Client   06/16/2019
Message              Communication         Privilege         08:59:40
WhatsApp   Counsel   Attorney/Client       Attorney-Client   06/13/2019
Message              Communication         Privilege         13:43:13
WhatsApp   Counsel   Attorney/Client       Attorney-Client   02/13/2019
Message              Communication         Privilege         19:01:28


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WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    02/13/2019
Message                  Consulting Agreement at issue                         14:35:55
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    02/12/2019
Message                  Consulting Agreement at issue                         10:29:51
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    01/29/2019
Message                  Consulting Agreement at issue                         13:30:28
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    01/29/2019
Message                  Consulting Agreement at issue                         13:29:29
                         in this case.
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   03/13/2018
Message                  Communication                       Privilege         22:06:31
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   03/13/2018
Message                  Communication                       Privilege         21:45:46
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    06/24/2021
Message                  Consulting Agreement at issue                         20:24:47
                         in this case.
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   05/31/2020
Message                  Communication                                         21:41:51
WhatsApp   Counsel       political discussion unrelated to   Non-Responsive    02/14/2019
Message                  Consulting Agreement at issue                         21:04:42
                         in this case.
WhatsApp   Counsel       political discussion unrelated to   Non-Responsive    02/13/2019
Message                  Consulting Agreement at issue                         19:02:21
                         in this case.
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   05/30/2018
Message                  Communication                       Privilege         16:22:03
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   05/13/2020
Message                  Communication                       Privilege         13:35:04
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    02/12/2019
Message                  Consulting Agreement at issue                         11:57:41
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    05/31/2018
Message                  Consulting Agreement at issue                         13:35:40
                         in this case.
WhatsApp   Unknown        political discussion unrelated     Non-Responsive    12/17/2018
Message                  to Consulting Agreement at                            14:48:22
                         issue in this case.
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   04/16/2018
Message                  Communication                       Privilege         08:41:01
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   10/06/2017
Message                  Communication                       Privilege         11:56:53
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   10/03/2017
Message                  Communication                       Privilege         13:52:31


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WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    07/25/2017
Message                  Consulting Agreement at issue                         17:59:03
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    07/18/2017
Message                  Consulting Agreement at issue                         17:15:32
                         in this case.
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   05/25/2017
Message                  Communication                       Privilege         10:17:26
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   5/24/2017 10:36
Message                  Communication                       Privilege
WhatsApp   Counsel       Attorney/Client                     Attorney-Client   04/23/2017
Message                  Communication                       Privilege         21:52:22
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   04/23/2017
Message                  Communication                       Privilege         15:54:23
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    02/20/2017
Message                  Consulting Agreement at issue                         15:50:07
                         in this case.
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   11/10/2017
Message                  Communication                       Privilege         08:30:42
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   11/10/2017
Message                  Communication                       Privilege         08:08:35
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   11/09/2017
Message                  Communication                       Privilege         20:37:59
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   11/09/2017
Message                  Communication                       Privilege         20:37:44
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    01/18/2022
Message                  Consulting Agreement at issue                         16:43:10
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    01/10/2022
Message                  Consulting Agreement at issue                         14:44:24
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    01/10/2022
Message                  Consulting Agreement at issue                         09:34:00
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    10/27/2021
Message                  Consulting Agreement at issue                         12:05:03
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    10/26/2021
Message                  Consulting Agreement at issue                         15:45:05
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    10/21/2021
Message                  Consulting Agreement at issue                         09:12:49
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    10/20/2021
Message                  Consulting Agreement at issue                         09:08:16
                         in this case.


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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/20/2021
Message              Consulting Agreement at issue                        09:04:05
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/20/2021
Message              Consulting Agreement at issue                        08:36:42
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/20/2021
Message              Consulting Agreement at issue                        08:36:08
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/20/2021
Message              Consulting Agreement at issue                        08:36:00
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/17/2021
Message              Consulting Agreement at issue                        09:51:36
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   09/23/2021
Message              Consulting Agreement at issue                        10:24:29
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   8/26/2021 14:01
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/30/2021
Message              Consulting Agreement at issue                        16:43:52
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   12/28/2019
Message              Consulting Agreement at issue                        21:47:02
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/07/2018
Message              Consulting Agreement at issue                        12:54:51
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Non-Responsive   12/17/2017
Message              Communication                                        20:52:07
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/31/2021 18:28
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/26/2021
Message              Consulting Agreement at issue                        17:11:37
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/15/2021 12:24
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   4/11/2021 12:23
Message              Consulting Agreement at issue
                     in this case.




                                           10
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/30/2020
Message              Consulting Agreement at issue                        09:35:51
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/28/2020
Message              Consulting Agreement at issue                        08:48:36
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   09/03/2020
Message              Consulting Agreement at issue                        08:27:22
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/16/2022
Message              Consulting Agreement at issue                        15:16:36
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/14/2022
Message              Consulting Agreement at issue                        07:39:07
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/12/2022
Message              Consulting Agreement at issue                        17:47:19
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   1/12/2022 17:47
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/12/2022
Message              Consulting Agreement at issue                        17:47:18
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/11/2022
Message              Consulting Agreement at issue                        19:24:12
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/17/2021 8:40
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/16/2021
Message              Consulting Agreement at issue                        16:48:18
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/12/2022
Message              Consulting Agreement at issue                        15:48:19
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/11/2022
Message              Consulting Agreement at issue                        19:16:25
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   11/22/2021
Message              Consulting Agreement at issue                        10:39:06
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/31/2020
Message              Consulting Agreement at issue                        13:49:36
                     in this case.



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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/04/2020
Message              Consulting Agreement at issue                        14:24:15
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2020
Message              Consulting Agreement at issue                        13:33:40
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/10/2022
Message              Consulting Agreement at issue                        08:48:00
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   11/22/2021
Message              Consulting Agreement at issue                        11:20:32
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   11/22/2021
Message              Consulting Agreement at issue                        11:12:04
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/15/2021
Message              Consulting Agreement at issue                        19:02:03
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2019
Message              Consulting Agreement at issue                        13:46:32
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2019
Message              Consulting Agreement at issue                        09:37:45
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2019
Message              Consulting Agreement at issue                        09:05:43
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   1/10/2022 8:47
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   11/22/2021
Message              Consulting Agreement at issue                        11:21:42
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   11/22/2021
Message              Consulting Agreement at issue                        11:21:06
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   07/25/2019
Message              Consulting Agreement at issue                        20:12:27
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   07/15/2019
Message              Consulting Agreement at issue                        16:04:35
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2019
Message              Consulting Agreement at issue                        14:37:25
                     in this case.



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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/07/2019
Message              Consulting Agreement at issue                         13:45:40
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/07/2019
Message              Consulting Agreement at issue                         09:35:48
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/07/2019
Message              Consulting Agreement at issue                         09:23:31
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/07/2019
Message              Consulting Agreement at issue                         09:07:31
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    01/29/2019
Message              Consulting Agreement at issue                         17:36:02
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    12/18/2020
Message              Consulting Agreement at issue                         08:13:25
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    8/3/2019 11:18
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Attorney-Client   6/27/2019 18:05
Message              Communication                       Privilege
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/25/2019
Message              Consulting Agreement at issue                         14:58:32
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    01/31/2019
Message              Consulting Agreement at issue                         21:43:23
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    01/28/2019
Message              Consulting Agreement at issue                         19:11:19
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    08/06/2018
Message              Consulting Agreement at issue                         22:36:40
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/06/2021
Message              Consulting Agreement at issue                         22:26:14
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    02/06/2021
Message              Consulting Agreement at issue                         17:17:34
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive    09/19/2019
Message              Consulting Agreement at issue                         13:52:22
                     in this case.




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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   09/19/2019
Message              Consulting Agreement at issue                        13:46:54
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/18/2021
Message              Consulting Agreement at issue                        08:12:32
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/19/2021
Message              Consulting Agreement at issue                        16:59:17
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/09/2021
Message              Consulting Agreement at issue                        22:54:13
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/31/2020
Message              Consulting Agreement at issue                        13:49:50
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2020
Message              Consulting Agreement at issue                        13:33:40
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Non-Responsive   05/04/2018
Message              Communication                                        16:58:25
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/11/2018
Message              Consulting Agreement at issue                        10:19:25
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/11/2017
Message              Consulting Agreement at issue                        21:18:54
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Non-Responsive   04/09/2017
Message              Communication                                        12:48:03
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/04/2021
Message              Consulting Agreement at issue                        08:53:37
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/21/2020
Message              Consulting Agreement at issue                        22:41:47
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/21/2020
Message              Consulting Agreement at issue                        22:41:33
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   12/28/2019
Message              Consulting Agreement at issue                        16:35:32
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   03/16/2019
Message              Consulting Agreement at issue                        20:02:13
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/28/2018
Message              Consulting Agreement at issue                        12:49:03
                     in this case.


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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/28/2018
Message              Consulting Agreement at issue                        12:48:33
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/18/2017
Message              Consulting Agreement at issue                        20:19:57
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/18/2017
Message              Consulting Agreement at issue                        16:43:26
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/18/2017
Message              Consulting Agreement at issue                        16:43:01
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/04/2021
Message              Consulting Agreement at issue                        10:58:28
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/20/2021
Message              Consulting Agreement at issue                        13:15:39
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/06/2021
Message              Consulting Agreement at issue                        06:38:45
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/03/2021
Message              Consulting Agreement at issue                        08:42:01
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/03/2021
Message              Consulting Agreement at issue                        08:39:04
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/02/2021
Message              Consulting Agreement at issue                        19:26:18
                     in this case.
WhatsApp   Unknown   responsiveness/ under review        Non-Responsive   05/28/2020
Message                                                                   08:37:51
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   5/15/2020 21:34
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/05/2020
Message              Consulting Agreement at issue                        15:46:26
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/23/2019
Message              Consulting Agreement at issue                        22:58:15
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/22/2020
Message              Consulting Agreement at issue                        09:15:22
                     in this case.




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WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   06/22/2020
Message                  Consulting Agreement at issue                        09:15:14
                         in this case.
WhatsApp   Raul Gorrin   Attorney/Client                                      07/31/2017
Message                  Communication                                        15:48:28
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   06/22/2020
Message                  Consulting Agreement at issue                        09:15:22
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   06/22/2020
Message                  Consulting Agreement at issue                        09:15:14
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   05/15/2020
Message                  Consulting Agreement at issue                        13:18:48
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   05/15/2020
Message                  Consulting Agreement at issue                        12:47:39
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   05/11/2020
Message                  Consulting Agreement at issue                        14:50:21
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   05/07/2020
Message                  Consulting Agreement at issue                        09:36:53
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   05/05/2020
Message                  Consulting Agreement at issue                        11:39:48
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   05/05/2020
Message                  Consulting Agreement at issue                        11:38:49
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   12/17/2019
Message                  Consulting Agreement at issue                        19:23:55
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   02/26/2019
Message                  Consulting Agreement at issue                        14:20:52
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   02/14/2019
Message                  Consulting Agreement at issue                        16:58:13
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   02/11/2019
Message                  Consulting Agreement at issue                        23:43:35
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive   02/02/2019
Message                  Consulting Agreement at issue                        10:21:46
                         in this case.




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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/01/2019
Message              Consulting Agreement at issue                        18:24:09
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/01/2019
Message              Consulting Agreement at issue                        11:00:55
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/31/2019
Message              Consulting Agreement at issue                        08:46:20
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/28/2019
Message              Consulting Agreement at issue                        16:51:56
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/24/2019
Message              Consulting Agreement at issue                        14:09:46
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/24/2019
Message              Consulting Agreement at issue                        08:56:29
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/23/2019
Message              Consulting Agreement at issue                        08:14:07
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/22/2019
Message              Consulting Agreement at issue                        11:43:34
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/21/2019
Message              Consulting Agreement at issue                        11:19:05
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/18/2019
Message              Consulting Agreement at issue                        10:21:25
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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/15/2019
Message              Consulting Agreement at issue                        19:04:54
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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/09/2019
Message              Consulting Agreement at issue                        18:32:35
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   10/25/2018
Message              Consulting Agreement at issue                        08:13:30
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   09/26/2018
Message              Consulting Agreement at issue                        14:12:57
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/22/2018
Message              Consulting Agreement at issue                        19:46:10
                     in this case.



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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/10/2018
Message              Consulting Agreement at issue                        17:27:05
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/10/2018
Message              Consulting Agreement at issue                        14:35:38
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/10/2018
Message              Consulting Agreement at issue                        09:31:34
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/07/2018
Message              Consulting Agreement at issue                        22:37:59
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/06/2018
Message              Consulting Agreement at issue                        14:31:55
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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/04/2018
Message              Consulting Agreement at issue                        20:57:43
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/04/2018
Message              Consulting Agreement at issue                        20:56:12
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/02/2018
Message              Consulting Agreement at issue                        11:40:54
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/01/2018
Message              Consulting Agreement at issue                        17:32:25
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   07/28/2018
Message              Consulting Agreement at issue                        11:46:05
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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   07/28/2018
Message              Consulting Agreement at issue                        09:07:47
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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   07/27/2018
Message              Consulting Agreement at issue                        23:40:03
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   07/05/2018
Message              Consulting Agreement at issue                        06:59:03
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/04/2018
Message              Consulting Agreement at issue                        14:51:47
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/04/2018
Message              Consulting Agreement at issue                        14:51:19
                     in this case.



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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/23/2018
Message              Consulting Agreement at issue                        08:09:49
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/21/2018
Message              Consulting Agreement at issue                        05:06:44
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/20/2018
Message              Consulting Agreement at issue                        17:55:25
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/09/2018
Message              Consulting Agreement at issue                        14:49:43
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   05/04/2018
Message              Consulting Agreement at issue                        12:15:08
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/17/2018
Message              Consulting Agreement at issue                        16:33:35
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/09/2018
Message              Consulting Agreement at issue                        11:08:17
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   03/05/2018
Message              Consulting Agreement at issue                        09:56:52
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   03/02/2018
Message              Consulting Agreement at issue                        11:10:07
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2018
Message              Consulting Agreement at issue                        20:54:37
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/07/2018
Message              Consulting Agreement at issue                        20:50:58
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        19:16:29
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        19:14:00
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        19:09:13
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        19:07:17
                     in this case.



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WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        18:51:05
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        18:47:08
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        18:36:49
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/03/2018
Message              Consulting Agreement at issue                        18:36:29
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/16/2018
Message              Consulting Agreement at issue                        13:55:51
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   01/15/2018
Message              Consulting Agreement at issue                        13:03:45
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/16/2017
Message              Consulting Agreement at issue                        11:17:19
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/09/2017
Message              Consulting Agreement at issue                        16:23:15
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   08/07/2017
Message              Consulting Agreement at issue                        18:16:25
                     in this case.
WhatsApp   Unknown   Attorney/Client                     Non-Responsive   07/17/2019
Message              Communication                                        20:44:47
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/24/2019
Message              Consulting Agreement at issue                        10:35:34
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/23/2019
Message              Consulting Agreement at issue                        22:05:38
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/23/2019
Message              Consulting Agreement at issue                        22:05:23
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/12/2019
Message              Consulting Agreement at issue                        09:37:06
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/10/2019
Message              Consulting Agreement at issue                        10:05:21
                     in this case.




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WhatsApp   Unknown        political discussion unrelated     Non-Responsive    06/10/2019
Message                  to Consulting Agreement at                            10:04:15
                         issue in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    12/17/2018
Message                  Consulting Agreement at issue                         19:29:48
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    12/17/2018
Message                  Consulting Agreement at issue                         19:28:50
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    08/05/2018
Message                  Consulting Agreement at issue                         15:16:10
                         in this case.
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   05/26/2018
Message                  Communication                       Privilege         12:42:57
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    05/01/2018
Message                  Consulting Agreement at issue                         09:13:02
                         in this case.
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   04/10/2018
Message                  Communication                       Privilege         10:18:57
WhatsApp   Raul Gorrin   political discussion unrelated to   Attorney-Client   04/09/2018
Message                  Consulting Agreement at issue       Privilege         19:19:08
                         in this case.
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   04/06/2018
Message                  Communication                       Privilege         11:09:15
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   08/14/2017
Message                  Communication                       Privilege         20:25:57
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   07/22/2017
Message                  Communication                       Privilege         22:00:16
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   02/20/2017
Message                  Communication                       Privilege         07:50:06
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   02/20/2017
Message                  Communication                       Privilege         07:48:31
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    02/19/2017
Message                  Consulting Agreement at issue                         22:03:09
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    09/26/2018
Message                  Consulting Agreement at issue                         14:12:57
                         in this case.
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   11/10/2017
Message                  Communication                       Privilege         09:36:05
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    11/10/2015
Message                  Consulting Agreement at issue                         20:52:48
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    4/22/2021 16:16
Message                  Consulting Agreement at issue
                         in this case.


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WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    05/03/2017
Message                  Consulting Agreement at issue                         22:40:48
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    05/03/2017
Message                  Consulting Agreement at issue                         21:13:59
                         in this case.
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   11/01/2017
Message                  Communication                       Privilege         21:39:19
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    7/12/2019 11:27
Message                  Consulting Agreement at issue
                         in this case.
WhatsApp   Unknown       business discussion unrelated       Non-Responsive    04/21/2019
Message                  to Consulting Agreement at                            15:05:11
                         issue in this case.
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   5/24/2017 10:36
Message                  Communication                       Privilege
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   4/23/2017 15:54
Message                  Communication                       Privilege
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   4/23/2017 13:13
Message                  Communication                       Privilege
WhatsApp   Unknown       business discussion unrelated       Non-Responsive    04/05/2017
Message                  to Consulting Agreement at                            15:00:50
                         issue in this case.
WhatsApp   Unknown       Attorney/Client                     Attorney-Client   03/31/2017
Message                  Communication                       Privilege         10:27:39
WhatsApp   Unknown       personal discussion unrelated       Non-Responsive    04/05/2018
Message                  to Consulting Agreement at                            11:47:25
                         issue in this case.
WhatsApp   Raul Gorrin   Attorney/Client                     Attorney-Client   12/17/2017
Message                  Communication                       Privilege         20:52:07
WhatsApp   Unknown       personal discussion unrelated       Non-Responsive    07/10/2017
Message                  to Consulting Agreement at                            23:42:23
                         issue in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    05/26/2019
Message                  Consulting Agreement at issue                         15:00:25
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    01/15/2019
Message                  Consulting Agreement at issue                         21:33:15
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    03/31/2018
Message                  Consulting Agreement at issue                         21:08:27
                         in this case.
WhatsApp   Unknown       political discussion unrelated to   Non-Responsive    03/27/2017
Message                  Consulting Agreement at issue                         18:06:10
                         in this case.



                                               22
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/04/2017
Message              Consulting Agreement at issue                        12:14:08
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   02/04/2017
Message              Consulting Agreement at issue                        12:13:57
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   03/27/2017
Message              Consulting Agreement at issue                        18:06:02
                     in this case.
WhatsApp   Unknown   Personal discussion unrelated       Non-Responsive   09/14/2015
Message              to Consulting Agreement at                           12:44:11
                     issue in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   06/17/2020
Message              Consulting Agreement at issue                        11:46:35
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   04/7/2018 12:54
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          10/09/2019
Message              Consulting Agreement at issue
                                                                          17:55:00
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          05/01/2018
Message              Consulting Agreement at issue
                                                                          09:13:02
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          04/04/2018
Message              Consulting Agreement at issue
                                                                          20:30:44
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/23/2018
Message              Consulting Agreement at issue
                                                                          18:45:41
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          10/2/2018 17:09
Message              Consulting Agreement at issue
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/31/2018
Message              Consulting Agreement at issue
                                                                          14:22:23
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/28/2018
Message              Consulting Agreement at issue
                                                                          19:58:29
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive   03/28/2018
Message              Consulting Agreement at issue                        19:57:20
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/27/2018
Message              Consulting Agreement at issue
                                                                          21:11:08
                     in this case.



                                           23
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/27/2018
Message              Consulting Agreement at issue
                                                                          17:30:31
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/23/2018
Message              Consulting Agreement at issue
                                                                          19:41:49
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/23/2018
Message              Consulting Agreement at issue
                                                                          18:46:12
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/22/2018
Message              Consulting Agreement at issue
                                                                          13:53:29
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/21/2018
Message              Consulting Agreement at issue
                                                                          20:14:15
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/21/2018
Message              Consulting Agreement at issue
                                                                          19:49:19
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/21/2018
Message              Consulting Agreement at issue
                                                                          18:42:46
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
Message              Consulting Agreement at issue                        3/21/2018 17:14
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          03/21/2018
Message              Consulting Agreement at issue
                                                                          16:57:20
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          02/07/2019
Message              Consulting Agreement at issue
                                                                          09:37:45
                     in this case.
WhatsApp   Unknown   political discussion unrelated to   Non-Responsive
                                                                          02/07/2019
Message              Consulting Agreement at issue
                                                                          09:35:48
                     in this case.
Counsel              Attorney-Client                                      04/06/2017
                                                                          15:39:54




                                           24
Dated: March 3, 2022.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 3, 2022, a copy of the foregoing has been furnished

via electronic mail to all counsel of record as follows:

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